                 Case 2:20-cv-00425-AJS Document 12 Filed 05/21/20 Page 1 of 3



                               IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 ANTHONY BUZZELLI and LORRAINE                         CIVIL ACTION No. 2:20-cv-000425-AJS
 BUZZELLI,

                              Plaintiffs,

                       v.

 NOVARTIS PHARMACEUTICALS
 CORPORATION,                                          JURY TRIAL DEMANDED

                              Defendant.


                MOTION FOR ADMISSION PRO HAC VICE OF ROBERT JOHNSTON


               Robert Johnston, Esquire, undersigned counsel for Defendant Novartis Pharmaceuticals

Corporation, hereby moves that he be admitted to appear and practice in this Court in the above-

captioned matter as counsel pro hac vice for Defendant Novartis Pharmaceuticals Corporation,

pursuant to LCvR 83.2 and LCvR 83.3 and this Court's Standing Order Regarding Pro Hac Vice

Admissions dated May 31, 2006 (Misc. No. 06-151).

               In support of this motion, undersigned counsel has attached the Declaration of Robert

Johnston, Esquire, filed herewith, which, it is averred, satisfies the requirements of the foregoing

Local Rules and Standing Order.

               WHEREFORE, Defendant Novartis Pharmaceuticals Corporation respectfully request that

this Honorable Court grant the within Motion for Admission Pro Hac Vice of Robert Johnston,




{W0187516.1}
               Case 2:20-cv-00425-AJS Document 12 Filed 05/21/20 Page 2 of 3



Esquire and enter an Order granting the pro hac vice admission of Robert Johnston, Esquire on

behalf of the Defendant Novartis Pharmaceuticals Corporation in the above-captioned matter.

JURY TRIAL DEMANDED

                                            Respectfully submitted,

                                            HOLLINGSWORTH LLP




                                     BY:                                  _______
                                           Robert Johnston, Esquire
                                           (Applicant for admission pro hac vice)

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                                           Attorneys for Defendant




{W0187516.1}                                   2
                 Case 2:20-cv-00425-AJS Document 12 Filed 05/21/20 Page 3 of 3



                                      CERTIFICATE OF SERVICE


               I hereby certify that a true and correct copy of the foregoing document has been served
upon the following individuals on the date and in the manner indicated below:
                                    U.S. First Class Mail
                                    Hand Delivery
                             _____ Certified Mail, Return Receipt Requested
                             _____ Facsimile Transmittal
                             _____ UPS Delivery
                             _   __ Electronic Mail
                             __X__ VIA Electronic Filing / Service
at the following address:

                                         W. Steven Berman, Esquire
                                          Napoli Shkolnik PLLC
                                             1 Greentree Centre
                                         10,000 Lincoln Drive East
                                            Marlton, NJ 08053
                                          (Counsel for Plaintiffs)

                                                      HOLLINGSWORTH LLP




Dated: May 21st, 2020                                    By:
                                                       ROBERT JOHNSTON, ESQUIRE




{W0187516.1}
